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                       UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION


UNITED STATES OF AMERICA,

       Plaintiff,
                                                           Hon. Phillip J. Green
v.
                                                           Case No. 1:17-mj-00282
SALVADOR CERVANTES,

      Defendant.
________________________________/
                         ORDER OF DETENTION


      Defendant appeared before me on September 13, 2017, with appointed

counsel for a detention hearing under the Bail Reform Act of 1984, 18 U.S.C. §

3142(f). After being advised of his rights, including those attendant to a detention

hearing, defendant waived his right to the hearing. I find that his waiver was

knowingly and voluntarily entered.

      Accordingly, IT IS ORDERED that defendant is committed to the custody of

the Attorney General pending trial.

      DONE AND ORDERED on September 13, 2017.




                                               /s/ Phillip J. Green
                                              PHILLIP J. GREEN
                                              United States Magistrate Judge
